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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION

PHILLIP MALCOLM,
      Petitioner,
v.                                                  Case No. 4:20-cv-440-AW-GRJ
WILLIAM BARR, et al.,
     Respondents.
_______________________________/
                             ORDER OF DISMISSAL

      I have considered the magistrate judge’s September 21, 2020, Report and

Recommendation. ECF No. 6. No objections have been filed.1 This case originated

with a “Petition for a Motion to Hear and Rule” that related to Petitioner’s request

for § 2241 relief. Petitioner has another case seeking relief, and that case is ongoing.

See Case No. 4:19-cv-392. I therefore agree with the magistrate judge that this

case—to the extent it was even intended to be a separate case—should be dismissed

without prejudice. The other case will continue. The clerk will enter a judgment that

says, “This case is dismissed without prejudice.” The clerk will then close the file.

      SO ORDERED on October 21, 2020.

                                        s/ Allen Winsor
                                        United States District Judge


      1
        The Report and Recommendation was mailed to Petitioner and returned
because he is no longer in the Louisiana facility. Petitioner was obligated to keep the
court apprised of his current address.
